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UNITED STATES DISTRICT COURT
                                                                   MAR   2I 2016
WESTERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA,

       V                                                    REPORT & RECOMMENDATION
                                                                14-CR-214S-18
CHARISMA ROYSTER,

                        Defendant


       By Order of Judge William M. Skretny dated March 17,2010, the above case
was referred to me, with the consent of the defendant, to take the defendant's plea of
guilty and to conduct an allocution pursuant to Rule 11 of the Federal Rules
                                                                                   of Criminal
Procedure for a Report and Recommendation. The following is my Report and
Recommendation as to the defendant's plea of guilty.


       On March 29,2016, the defendant entered a plea of guilty in this case. tn
accordance with my oral Report and Recommendation at the close of the plea
proceeding, it is my Report and Recommendation that the defendant's plea
                                                                                   of guilty
accords with the requirements of Rule 11 of the Fed. R. Crim. P. and that your Honor
adjudge the defendant guilty of the offense(s) to which the guilty ptea was offered.


      SO ORDERED.
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Dated: ttiarcnfr ,2016
        Buffalo, New york


                                                       LI    G.   oscHto
                                         UNITED STA         S      ISTRATE JUDGE
